
195 N.W.2d 173 (1972)
188 Neb. 48
STATE of Nebraska, Appellee,
v.
William T. MELOY, Appellant.
No. 38181.
Supreme Court of Nebraska.
March 3, 1972.
*174 Joseph D. Martin, Grand Island, for appellant.
Clarence A. H. Meyer, Atty. Gen., C. C. Sheldon, Asst. Atty. Gen., Lincoln, for appellee.
Heard before WHITE, C. J., and SPENCER, BOSLAUGH, SMITH, McCOWN, NEWTON and CLINTON, JJ.
McCOWN, Justice.
The defendant, William T. Meloy, pleaded guilty to one count of drawing and uttering an insufficient funds check with intent to defraud. After a full evaluation, the district court sentenced the defendant to the Nebraska Penal and Correctional Complex for a period of 2 to 5 years. The sole contention on appeal is that the sentence was excessive.
The record reveals that the defendant was 24 years old. He joined the Army in February 1968. His criminal record began in July of 1968, when he was convicted on a felony charge of false swearing and received a 1-year suspended sentence in Atlanta, Georgia. A few months thereafter he was charged with grand larceny at Tampa, Florida, but the case was nolle prossed and he was released to military authorities. In 1969, he was arrested on worthless check charges in Columbia, Tennessee, and at about the same time he was charged with desertion from the Army. In March 1971, he was arrested in Jackson, Mississippi, on a charge of false pretenses. The check involved here was issued in January 1971. An additional count for the issuance of another check in Hall County was dismissed before the guilty plea here. There were four or five hold orders on the defendant at the time of sentencing, including at least two from other counties in Nebraska, and one from the Army.
Under such circumstances, it is quite apparent that there was no abuse of discretion on the part of the trial court and that the sentence here was not excessive. A sentence imposed within statutory limits will not ordinarily be disturbed in the absence of an abuse of judicial discretion. State v. Leadinghorse, 187 Neb. 386, 191 N.W.2d 440.
Affirmed.
